      Case: 2:24-cv-03130-ALM-CMV Doc #: 1-2 Filed: 06/07/24 Page: 1 of 10 PAGEID #: 45

                                                                                     EXHIBIT 2
             Central State
   =
                 University
  III             EXTENSION




                                            Report




                                                                        November 27, 2019




TO:



Supervisor: Anthony Barwick (abarwick@centralstate.edu)

Appointing Authority:      Board of Trustees c/o Mark Hatcher, Esq. (mhatcher@bakerlaw.com)

and Larry Macon Jr., Esq. (copastor@mtzionoakwood.org)

President: Dr. Cynthia Jackson-Hammond (chammond@centralstate.edu)

Dean: Dr. Alton Johnson (ajohnson@centralstate.edu)

Associate Director of Extension: Anthony Barwick (abarwick@centralstate.edu)

General Counsel: Laura Wilson, Esq. (lwilson@centralstate.edu)

Human Resources: Tonya Turner (tturner@centralstate.edu)

Central State University

1400 Brush Row Road

P. 0. Box 1004

Wilberforce, OH 45384-1004



FROM:



Ambrose Moses Ill, Esq.(amoses@centralstate.edu)

Cuyahoga County Educator

Central State University Extension

12200 Fairhill Road, E-Building

Cleveland, OH 44120



RE:     Noncompliance with State and Federal Law:

        Residency Requirements Prohibited in Ohio and Could have Racially Discriminatory

        Disparate Impact Upon African-Americans



I hereby submit and otherwise file this written report pursuant to R.C. §124.341.


On November 6, 2 0 1 9 , I, as a Central State University employee, received a notification

about job postings, including, but not limited to, for Regional Extension Associate.   There

are four (4) Regional Extension Associate positions posted.     As of November 26, 2 0 1 9 ,

each of the Regional Extension Associate job postings contains a residency requirment

that is prohibited by Ohio law.




                                      Exhibit 2 - Page 1 of 10
     Case: 2:24-cv-03130-ALM-CMV Doc #: 1-2 Filed: 06/07/24 Page: 2 of 10 PAGEID #: 46

Specifically, each of the Regional Extension Associate positions contains a residency

requirement as a minimum qualification that is prohibited by Ohio statutory law and Ohio

Supreme Court case law:



    Position:   Regional Extension Associate-Southwest

    Minimum Qualifications:      "· Upon hire must reside in the Southwest Region."

    Job Summary: "Southwest Region includes the following Counties: Adams Brown,

    Butler, Clermont, Clinton, Darke, Fayette, Franklin, Greene, Hamilton, Highland,

    Miami, Mercer, Montgomery Pickaway, Preble, Ross, Shelby and Warren."



    Position:   Regional Extension Associate-Southeast

    Minimum Qualifications:      "· Upon hire must reside in the Southeast Region."

    Job Summary: "Southeast Region includes the following Counties: Athens, Belmont,

    Gallia, Guernsey, Jackson, Lawrence, Meigs, Monroe, Morgan, Muskingum, Noble,

    Perry, Pike, Scioto, Washington, and Vinton."



    Position:   Regional Extension Associate, Northwest

    Minimum Qualifications:      "· Upon hire must reside in the Northwest Region."

    Job Summary: "Northwest Region includes the following Counties: Crawford, Hardin,

    Lucas, Marion, Wood, Wyandot, Allen, and Auglaize"



    Position:   Regional Extension Associate, Northeast

    Minimum Qualifications:      "· Upon hire must reside in the Northeast Region."

    Job Summary: "Northeast Region includes the following Counties: Ashtabula, Carroll,

    Columbiana, Cuyahoga, Geauga, Harrison, Jefferson, Lake, Mahoning, Portage,

    Stark, Trumbull, Tuscarawas,"




Ohio law prohibits the imposition of Residency Requirements upon higher education

employees and certain other employees.



       •    R.C. §9.481   Residency requirements prohibited for certain employees.

       •    R.C. §124.70 No residency requirement for higher education employees.

       •    The Ohio Supreme Court, in Lima v State, 2009-Ohio-2597, held that a state

            law prohibiting general residency requirements for public employees is valid

            and supersedes local laws to the contrary.



According to the Ohio Development Services Agency, in Ohio, "nearly four out of every

ten African Americans in the state live in the cities of Cincinnati, Cleveland, or Columbus."

The impact of the residency requirement could also disproportionately eliminate African

American Ohio residents from competing for a majority of the restricted positions, in

violation of state and federal civil rights laws.




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Cuyahoga County Educator

Central State University Extension




•   Page2




                                      Exhibit 2 - Page 2 of 10
               Case: 2:24-cv-03130-ALM-CMV Doc #: 1-2 Filed: 06/07/24 Page: 3 of 10 PAGEID #: 47
Central State University Applicant Portal I Regional Extension Associatc...                             https://carcers.ccntralstate.cdu/postings/4971/print_prcview




          Regional Extension Associate-Southwest



            Posting Details

                               ----------------
              Posting Detals



               Posting Number               0800973



               Classification Title         Regional Extension Associate-Southwest



               Working Tile



               Department                   1890 Land Grant Extension




               Job Summary/Basic            Southwest Region includes the following Counties: Adams Brown, Butler, Clermont, Clinton, Darke, Fayette,
               Function                     Franklin, Greene, Hamiton, Highland, Miami, Mercer, Montgomery Pickaway, Preble, Ross, Shelby and
                                            Warren.

                                            Job Summary:

                                            The Regional Extension Associate will lead an effective work team of CSU Extension educators in the

                                            assigned region to deliver high quality educational programs designed to meet the needs across the region.

                                            This position will assist in hiring training and supporting the regional team. The Regional Extension
                                            Associate will report to the Operations and Program Manager.
                                            Essential Duties and Responsibilities:

                                            • Must reside in the region of assignment.

                                            • Work with Program Leaders to manage day to day activities of program staff with in the region.

                                            • Oversee implementation and evaluation of all programming in assigned multi-county region.

                                            • Oversee professional development of regional team, ensuring the team has the resources and expertise
                                            needed to effectively carry out their job duties.

                                            • Oversee and coordinate the development and implementation of partner level agreements in the region.

                                            • Analyze programmatic data and financial lnfonnation to determine ways to better focus resources for
                                            effectively and efficiently reaching the regional communties and residents

                                            • Manage and monitor data and budget for projects and programs.
                                            Program Development and Implementation

                                            • Develop strategies and facilitate the regional implementation of train-the-trainer and or programming
                                            opportunities for regional organizations.

                                            • Conduct programming In area of expertise delivering evidence-based programs in a community setting.

                                            • Maintain a sound understanding of and familiarity with the key regional partners and stakeholders.
                                            Communications and Community Partnerships

                                            • Serve as the official liaison of cooperative efforts with other institutions agencies and organizations in the
                                            region.

                                            ·Lead positive communications and ongoing updates internally and externally with all stakeholders
                                            regionally.

                                            • Coordinate and facilitate meetings with staff, stakeholders and partners.

                                            • Develop community advisory boards. Lead the quarterly meetings.

                                            • Develop relationships with local county OSU Extension offices to determine joint programs and projects.
                                            • Cultivate new partnerships and maintain professional relationships to further Extension programming to

                                            improve the lives of individuals and families within the region in both rural and urban communities.
                                            • Understand the needs of culturally and economically diverse audiences.

                                            • Prepare timely reports of programmatic activities and success stories in the region.
                                            • Other responsibilities assigned as needed



               Minimum Quallflcatlons       Minimum Qualifications

                                            • Master's degree in education, communications, agriculture, community development health, nutrition,
                                            family relationships, youth development or a closely related discipline.

                                            • Experience with program development and management.

                                            • Ability to communicate clear work direction and broad understanding of programming priorities.

                                            • Ability to work effectively in an environment that combines independent action and teamwork with
                                            colleagues and external organizations.

                                            • Ability to build effective work teams and manage conflict.

                                            • Respectful, professional communication style both oral and in written.

                                            • Organizational and time management skills with attention to detail.

                                            • Computer skills: Able to effectively use Microsoft Office Suite of software programs.

                                            • Ability to plan and maintain a flexible work schedule, including evening and weekend work to meet time
                                            demands and/or special needs of program management.

                                            • Valid driver's license, reliable vehicle with required liability insurance, to be utilized for frequent travel.
                                            • Must be able to lift 25 pounds.

                                            • Upon hire must reside in the Southwest Region.



               Preferred Qualifications     Preferred Qualifications

                                            • 1-3 years of experience in teaching, community organizing, community and/or community education.
                                            • Direct experience in grants management and administration.

                                            • Ability to oversee the compliance of budgetary requirements and financial policies and procedures.



               Posting Date                 11/06/2019




1of2                                                                                                                                                    1/21/2019, 6:56 AM


                                                             Exhibit 2 - Page 3 of 10
               Case: 2:24-cv-03130-ALM-CMV Doc #: 1-2 Filed: 06/07/24 Page: 4 of 10 PAGEID #: 48
Central State University Applicant Portal I Regional Extension Associatc...                             https://careers.centralstate.edu/postings/4971 /print_preview




               Closing Date                     12/20/2019




               Open Until FIiied                No




               Special Instructions to          Three Letters of Recommendation and Official Transcripts are required. A Letter of Recommendation
               Applicants                       request will be sent to your references if you are selected for interview. Please ensure you provide your

                                                references' name and email address where indicated on the application. Send Official Transcripts to:

                                                Central State University

                                                Attn: Michelle Smith

                                                PO Box 1004

                                                1400 Brush Row Road

                                                Wilbertorce, OH 45384

                                                For questions or general inquiries, email Michelle Smith at msmith2@centralstate.edu.



               Position Category                Staff • Monthly (Exempt)




            Supplemental Questions

                                           --------------
              Required fields are indicated with an asterisk ().


               1, What is the highest degree you hold?



                   • Doctorate

                   • Completed all Doctorate coursework, but has not completed dissertation

                   • Master's Degree

                   • Bachelor's Degree

                   • Assoicate's Degree

                   • High School Diploma or GED


               2 . D o you have a valid Driver's License?


                     Yes

                   • No



            Required Documents


              Required Documents



               1. Resume

               2. Cover Letter

               3. Unofficial Transcripts


              Optional Documents



               1. Curriculum Vitae




20f 2                                                                                                                                              11/21/2019, 6:56 AM


                                                                   Exhibit 2 - Page 4 of 10
               Case: 2:24-cv-03130-ALM-CMV Doc #: 1-2 Filed: 06/07/24 Page: 5 of 10 PAGEID #: 49
Central State University Applicant Portal I Regional Extension Associate ...                            https://carccrs.centralstate.edu/postings/4972/print_preview




           Regional Extension Associate-Southeast



            Posting Details



              Posting Details


                Posting Number              0800975



                Classification Title        Regional Extension Associate-Southeast



               Working Title



                Department                  1890 Land Grant Extension




               Job Summary/Basic            Southeast Region includes the following Counties: Athens, Belmont, Gallia, Guernsey, Jackson, Lawrence,
                Function                    Meigs, Monroe, Morgan, Muskingum, Noble, Perry, Pike, Scioto, Washington, and Vinton.

                                            Job Summary:

                                            The Regional Extension Associate will lead an effective work team of CSU Extension educators in the

                                            assigned region to deliver high quality educational programs designed to meet the needs across the region.

                                            This position will assist in hiring training and supporting the regional team. The Regional Extension

                                            Associate will report to the Operations and Program Manager.

                                            Essential Duties and Responsibilities:

                                            • Must reside in the region of assignment.

                                            • Work with Program Leaders to manage day to day activities of program staff with in the region.

                                            • Oversee implementation and evaluation of all programming in assigned multi-county region.

                                            • Oversee professional development of regional team, ensuring the team has the resources and expertise

                                            needed to effectively carry out their job duties.

                                            • Oversee and coordinate the development and implementation of partner level agreements in the region.

                                            • Analyze programmatic data and financial information to determine ways to better focus resources for

                                            effectively and efficiently reaching the regional communities and residents

                                            • Manage and monitor data and budget for projects and programs.

                                            Program Development and Implementation

                                            • Develop strategies and facilitate the regional implementation of train-the-trainer and or programming
                                            opportunities for regional organizations.

                                            • Conduct programming in area of expertise delivering evidence-based programs in a community setting.

                                            • Maintain a sound understanding of and familiarity with the key regional partners and stakeholders.

                                            Communications and Community Partnerships

                                            • Serve as the official liaison of cooperative efforts with other institutions agencies and organizations in the
                                            region.

                                            ·Lead positive communications and ongoing updates internally and externally with all stakeholders
                                            regionally.

                                            • Coordinate and facilitate meetings with staff, stakeholders and partners.

                                            • Develop community advisory boards. Lead the quarterly meetings.

                                            • Develop relationships with local county OSU Extension offices to determine joint programs and projects.

                                            • Cultivate new partnerships and maintain professional relationships to further Extension programming to

                                            improve the lives of individuals and families within the region in both rural and urban communities.

                                            • Understand the needs of culturally and economically diverse audiences.

                                            • Prepare timely reports of programmatic activities and success stories in the region.

                                            • Other responsibilities assigned as needed



               Minimum Qualifications       Required Qualifications

                                            • Master's degree in education, communications, agriculture, community development health, nutrition,

                                            family relationships, youth development or a closely related discipline.

                                            • Experience with program development and management.

                                            • Ability to communicate clear work direction and broad understanding of programming priorities.

                                            • Ability to work effectively in an environment that combines independent action and teamwork with

                                            colleagues and external organizations.

                                            • Ability to build effective work teams and manage conflict.

                                            • Respectful, professional communication style both oral and in written.

                                            • Organizational and time management skills with attention to detail,

                                            • Computer skills: Able to effectively use Microsoft Office Suite of software programs.

                                            • Ability to plan and maintain a flexible work schedule, including evening and weekend work to meet time

                                            demands and/or special needs of program management.

                                            • Valid driver's license, reliable vehicle with required liability insurance, to be utilized for frequent travel.

                                            • Must be able to lift 25 pounds.

                                            • Upon hire must reside in the Southeast Region.



               Preferred Qualifications     Preferred Qualifications

                                            · 1 - 3 years of experience in teaching, community organizing, community and/or community education.

                                            • Direct experience in grants management and administration.

                                            • Ability to oversee the compliance of budgetary requirements and financial policies and procedures.



               Posting Date                 11/06/2019




1of 2                                                                                                                                                   11/21/2019, 6:55 AM


                                                             Exhibit 2 - Page 5 of 10
               Case: 2:24-cv-03130-ALM-CMV Doc #: 1-2 Filed: 06/07/24 Page: 6 of 10 PAGEID #: 50
Central State University Applicant Portal I Regional Extension Associatc...                                  https://careers.centralstate.cdu/postings/4972/print_preview




               Closing Date                      12/20/2019




               Open Until FIiied                 No



               Special Instructions to           Three Letters of Recommendation and Official Transcripts are required. A Letter of Recommendation
               Applicants                        request will be sent to your references   i
                                                                                           f   you are selected for interview. Please ensure you provide your

                                                 references' name and email address where indicated on the application. Send Official Transcripts to:

                                                 Central State University

                                                 Attn: Michelle Smith

                                                 PO Box 1004

                                                 1400 Brush Row Road

                                                 Wilberlorce, OH 45384

                                                 For questions or general inquiries, email Michelle Smith at msmith2@centralstate.edu.



               Position Category                 Staff - Monthly (Exempt)




            Supplemental Questions



              Required fields are indicated with an asterisk (").


               1,   Do you have a valid Driver's License?



                    • Yes

                    • No


               2,   What is the highest degree you hold?


                    • Doctorate

                    • Completed all Doctorate coursework, but has not completed dissertation

                    • Master's Degree

                    • Bachelor's Degree

                    • Assoicate's Degree

                    • High School Diploma or GED



            Required Documents

                                           --------------
              Required Documents


               1, Resume

               2. Cover Letter

               3. Unofficial Transcripts


              Optional Documents


               1. Curriculum Vitae




20f 2                                                                                                                                                  11/21/2019, 6:55 AM


                                                                    Exhibit 2 - Page 6 of 10
               Case: 2:24-cv-03130-ALM-CMV Doc #: 1-2 Filed: 06/07/24 Page: 7 of 10 PAGEID #: 51
Central State University Applicant Portal I Regional Extension Associate ...                                          https://carccrs.ccntralstatc.cdu/postings/4973/print_prcvicw




           Regional Extension Associate, Northwest




            Posting Details


              Posting Details



                Posting Number               0800976



                Classification Title         Regional Extension Associate, Northwest



                Working Title



                Department                   1890 Land Grant Extension




                Job Summary/Basic            Northwest Region includes the following Counties: Crawford, Hardin, Lucas, Marion, Wood, Wyandot, Allen,
                Function                     and Auglaize

                                             Job Summary:

                                             The Regional Extension Associate will lead an effective work team of CSU Extension educators in the

                                             assigned region to deliver high quality educational programs designed to meet the needs across the region.

                                             This position will assist in hiring training and supporting the regional team. The Regional Extension
                                             Associate will report to the Operations and Program Manager.

                                             Essential Duties and Responsibilities:

                                             • Must reside in the region of assignment.
                                             • Work with Program Leaders to manage day to day activities of program staff with in the region.

                                             • Oversee implementation and evaluation of all programming in assigned multi-county region.

                                             • Oversee professional development of regional team, ensuring the team has the resources and expertise

                                             needed to effectively carry out their job duties.

                                             • Oversee and coordinate the development and implementation of partner level agreements in the region.

                                             • Analyze programmatic data and financial information to determine ways to better focus resources for
                                             effectively and efficiently reaching the regional communities and residents

                                             • Manage and monitor data and budget for projects and programs.
                                             Program Development and Implementation

                                             • Develop strategies and facilitate the regional implementation of train-the-trainer and or programming

                                             opportunities for regional organizations.

                                             • Conduct programming in area of expertise delivering evidence-based programs in a community setting.
                                             • Maintain a sound understanding of and familiarity with the key regional partners and stakeholders.

                                             Communications and Community Partnerships

                                             • Serve as the official liaison of cooperative efforts with other institutions agencies and organizations in the

                                             region.

                                             • Lead positive communications and ongoing updates internally and externally with all stakeholders
                                             regionally.

                                             • Coordinate and facilitate meetings with staff, stakeholders and partners.

                                             • Develop community advisory boards. Lead the quarterly meetings.

                                             • Develop relationships with local county OSU Extension offices to determine joint programs and projects.
                                             • Cultivate new partnerships and maintain professional relationships to further Extension programming to

                                             improve the lives of individuals and families within the region in both rural and urban communities..

                                             • Understand the needs of culturally and economically diverse audiences.

                                             • Prepare timely reports of programmatic activities and success stories in the region.
                                             • Other responsibilities assigned as needed



                Minimum Qualifications       Required Qualifications

                                             • Master's degree in education, communications, agriculture, community development health, nutrition,
                                             family relationships, youth development or a closely related discipline.

                                             • Experience with program development and management.

                                             • Ability to communicate clear work direction and broad understanding of programming priorities.

                                             • Ability to work effectively in an environment that combines independent action and teamwork with

                                             colleagues and external organizations.
                                             • Ability to build effective work teams and manage conflict.

                                             • Respectful, professional communication style both oral and in written.

                                             • Organizational and time management skills with attention to detail.

                                             • Computer skills: Able to effectively use Microsoft Office Suite of software programs.

                                             • Ability to plan and maintain a flexible work schedule, including evening and weekend work to meet time

                                             demands and/or special needs of program management.
                                             • Valid    driver's   license,   reliable vehicle   with   required   liability   insurance,   to   be   utilized   for frequent travel.


                                             • Must be able to ift 25 pounds.
                                             • Upon hire must reside in the Northwest Region.



                Preferred Qualifications     Preferred Qualifications

                                             •   1-3   years   of experience in teaching, community organizing, community and/or community education.

                                             • Direct experience in grants management and administration.

                                             • Ability to oversee the compliance of budgetary requirements and financial policies and procedures.



                Posting Date                 11/06/2019




1of 2                                                                                                                                                                           11/21/2019, 6:55 AM


                                                                   Exhibit 2 - Page 7 of 10
               Case: 2:24-cv-03130-ALM-CMV Doc #: 1-2 Filed: 06/07/24 Page: 8 of 10 PAGEID #: 52
Central State University Applicant Portal I Regional Extension Associate ...                                https://careers.centralstatc.cdu/postings/4973/print_preview




                Closing Date                    12/20/2019



                Open Until Filled               No



                Special Instructions to         Three Letters of Recommendation and Official Transcripts are required. A Letter of Recommendation
                Applicants                      request will be sent to your references   i
                                                                                          f   you are selected for interview. Please ensure you provide your

                                                references' name and email address where indicated on the appl cation. Send Official Transcripts to:

                                                Central State University

                                                Attn: Michelle Smith

                                                PO Box 1004

                                                1400 Brush Row Road
                                                Wilberforce, OH 45384
                                                For questions or general inquiries, emal Michelle Smith at msmith2@centralstate.edu.



                Positlon Category               Staff - Monthly (Exempt)




            Supplemental Questions
                                           --------------
              Required fields are indicated with an asterisk ().


               1 . What is the highest degree you hold?



                    • Doctorate

                    • Completed all Doctorate coursework, but has not completed dissertation

                    • Master's Degree

                    • Bachelor's Degree

                    • Assoicate's Degree

                    • High School Diploma or GED


               2.   Do you have a valid Driver's License?



                    • Yes

                    • No



            Required Documents


              Required Documents


               1. Resume

               2. Cover Letter

               3. Unofficial Transcripts


              Optional Documents


               1. Curriculum Vitae




20f 2                                                                                                                                                  11/21/2019, 6:55 AM


                                                                   Exhibit 2 - Page 8 of 10
               Case: 2:24-cv-03130-ALM-CMV Doc #: 1-2 Filed: 06/07/24 Page: 9 of 10 PAGEID #: 53
Central State University Applicant Portal I Regional Extension Associate ...                             https://carccrs.centralstate.edu/postings/4974/print_preview




           Regional Extension Associate, Northeast



            Posting Details


              Posting Details



                Posting Number              0800974



                Classlflcallon Title         Regional Extension Associate, Northeast



                Working Title



                Department                   1890 Land Grant Extension



                Job Summary/Basic            Northeast Region includes the following Counties: Ashtabula, Carroll, Columbiana, Cuyahoga, Geauga,

                Function                     Harrison, Jefferson, Lake, Mahoning, Portage, Stark, Trumbull, Tuscarawas,

                                            Job Summary:

                                            The Regional Extension Associate will lead an effective work team of CSU Extension educators in the

                                            assigned region to deliver high quality educational programs designed to meet the needs across the region.

                                            This position will assist in hlring training and supporting the regional team. The Regional Extension

                                            Associate will report to the Operations and Program Manager.

                                             Essential Duties and Responsibilities:

                                             • Must reside in the region of assignment.

                                             • Work with Program Leaders to manage day to day activities of program staff with in the region.

                                             • Oversee implementation and evaluation of all programming in assigned multi-county region.

                                             • Oversee professional development of regional team, ensuring the team has the resources and expertise

                                             needed to effectively carry out their job duties.

                                             • Oversee and coordinate the development and Implementation of partner level agreements in the region.

                                             • Analyze programmatic data and financial information to determine ways to better focus resources for

                                            effectively and efficiently reaching the regional communities and residents

                                             • Manage and monitor data and budget for projects and programs.

                                             Program Development and Implementation

                                             • Develop strategies and facilitate the regional implementation of train-the-trainer and or programming

                                            opportunities for regional organizations.

                                             • Conduct programming in area of expertise delivering evidence-based programs in a community setting.

                                             • Maintain a sound understanding of and familiarity with the key regional partners and stakeholders.

                                            Communications and Community Partnerships

                                             • Serve as the official liaison of cooperative efforts with other institutions agencies and organizations in the

                                             region.

                                            • Lead positive communications and ongoing updates internally and externally with all stakeholders

                                             regionally.

                                            • Coordinate and facilitate meetings with staff, stakeholders and partners.

                                             • Develop community advisory boards. Lead the quarterly meetings.

                                             • Develop relationships with local county OSU Extension offices to determine joint programs and projects.

                                             • Cultivate new partnerships and maintain professional relationships to further Extension programming to

                                            improve the lives of individuals and families within the region in both rural and urban communities.

                                             • Understand the needs of culturally and economically diverse audiences.

                                             • Prepare timely reports of programmatic activities and success stories in the region.

                                             • Other responsibilities assigned as needed



                Minimum Qualifications       Required Qualifications

                                             • Master's degree in education, communications, agriculture, community development health, nutrition,

                                            family relationships, youth development or a closely related discipline.

                                             • Experience with program development and management.

                                             • Ability to communicate clear work direction and broad understanding of programming priorities.

                                             • Ability to work effectively in an environment that combines independent action and teamwork with

                                            colleagues and external organizations.

                                             • Ability to build effective work teams and manage conflict.

                                             • Respectful, professional communication style both oral and in written.

                                             • Organizational and time management skills with attention to detail.

                                             • Computer skills: Able to effectively use Microsoft Office Suite of software programs.

                                             • Ability to plan and maintain a flexible work schedule, including evening and weekend work to meet time

                                            demands and/or special needs of program management.

                                             • Valid driver's license, reliable vehicle with required liability insurance, to be utilized for frequent travel.

                                             • Must be able to lift 25 pounds.

                                             • Upon hire must reside in the Northeast Region.



                Preferred Qualifications     Preferred Qualifications

                                             • 1-3 years of experience in teaching, community organizing,       community    and/or   community   education.



                                             •   Direct   experience in grants management and administration.

                                             • Ability    to oversee the compliance of budgetary requirements and financial policies and procedures.



                Posting Date                 11/06/2019




1of2                                                                                                                                                     11/21/2019, 6:54 AM


                                                                 Exhibit 2 - Page 9 of 10
              Case: 2:24-cv-03130-ALM-CMV Doc #: 1-2 Filed: 06/07/24 Page: 10 of 10 PAGEID #: 54
Central State University Applicant Portal I Regional Extension Associatc...                                  https://carccrs.centralstate.cdu/postings/4974/print_preview




               Closing Date                      12120/2019



               Open Until FIiied                 No


               Special instructions to           Three Letters of Recommendation and Official Transcripts are required. A Letter of Recommendation

               Applicants                        request will be sent to your references   i
                                                                                           f   you are selected for interview. Please ensure you provide your

                                                 references' name and email address where indicated on the application. Send Official Transcripts to:

                                                 Central State University

                                                 Attn: Michelle Smith

                                                 PO Box 1004

                                                 1400 Brush Row Road

                                                 Wilberforce, OH 45384

                                                 For questions or general inquiries, emal Michele Smith at msmith2@centralstate.edu.



               Position Category                 Staff - Monthly (Exempt)




            Supplemental Questions


              Required fields are Indicated with an asterisk (*).


               1,   What is the highest degree you hold?



                    • Doctorate

                    • Completed all Doctorate coursework, but has not completed dissertation

                    • Master's Degree

                    • Bachelor's Degree

                    • Assoicate's Degree

                    • High School Diploma or GED


               2 . D o you have a valid Driver's License?



                    • Yes

                    • No



            Required Documents


              Required Documents


               1. Resume

               2. Cover Letter

               3. Unofficial Transcripts


              Optional Documents


               1. Curriculum Vitae




20f2                                                                                                                                                    11/21/2019, 6:54 AM


                                                                Exhibit 2 - Page 10 of 10
